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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA



United States of America,

      Plaintiff,
v.                                            ORDER
                                              Criminal No. 10‐187
Amina Farah Ali,

           Defendant.
__________________________________________________________________

      Pursuant to the Court’s Order dated October 3, 2011 [Doc. No. 132], the

Court determined that Defendant Ali would be held in contempt of Court for

failing to rise for the Court when Court was called to Order and Recessed.

      IT IS HEREBY ORDERED:

      The Court hereby finds that on this day, October 4, 2011, Defendant Ali

failed to rise on the following ten occasions: 9:00 ‐ Court called to Order; 9:20 ‐

Court recessed; 9:35 ‐ Court called to Order; 11:24 ‐ Court called to Order; 1:15 ‐

Jury excused; 1:20 ‐ Court recessed; 2:20 ‐ Court called to Order; 3:05 ‐ Court

recessed; 3:15 ‐ Court called to Order; 5:05 ‐ Jury excused.
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        Defendant Ali shall be sentenced to five days for each incidence of

contempt, to be served consecutively and after the trial in this matter is

completed.

Date:    October 5, 2011

                                 s/ Michael J. Davis
                                 Michael J. Davis
                                 Chief Judge
                                 United States District Court
